Case 1:21-cv-07957-LAK   Document 94-1   Filed 06/30/23   Page 1 of 7




 EXHIBIT 81
       Case 1:21-cv-07957-LAK   Document 94-1      Filed 06/30/23   Page 2 of 7



                                                                         Page 1

1
2            IN THE UNITED STATES DISTRICT COURT
             FOR THE SOUTHERN DISTRICT OF NEW YORK
3            ------------------------------x
             MARVEL CHARACTERS, INC.,
4
                              Plaintiff and
5                   Counterclaim Defendant,
6                       vs.                                  Case Nos.
                                                            1:21-cv-7955-LAK
7            LAWRENCE D. LIEBER,                            1:21-cv-7957-LAK
                                                            1:21-cv-7959-LAK
8                            Defendant and
                          Counter-claimant.
9            ------------------------------x
             MARVEL CHARACTERS, INC.,
10
                       Plaintiff and
11                     Counterclaim Defendant,
12                     vs.
             KEITH A. DETTWILER, in his
13           capacity as Executor of the
             Estate of Donald L. Heck,
14
                       Defendant and
15                     Counter-claimant.
             ------------------------------x
16           MARVEL CHARACTERS, INC.,
17                     Plaintiff and
                       Counterclaim Defendant,
18
                       vs.
19           PATRICK S. DITKO, in his
             capacity as Administrator of the
20           Estate of Stephen J. Ditko,
21                      Defendant and
                        Counter-claimant.
22           ------------------------------x
               VIDEOTAPED DEPOSITION OF PATRICK S. DITKO
23                         New York, New York
                       Tuesday, February 14, 2023
24                              9:52 a.m.
25           JOB NO. 5697050

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       Case 1:21-cv-07957-LAK   Document 94-1      Filed 06/30/23   Page 3 of 7



                                                                         Page 2

1
2
3
4
5
6
7
8                                            February 14, 2023
9                                            9:52 a.m.
10
11                          Videotaped Deposition of
12                  PATRICK S. DITKO, held at the offices
13                  of O'Melveny & Myers LLP, Seven Times
14                  Square, New York, New York, pursuant to
15                  notice, before Jennifer Ocampo-Guzman,
16                  a Certified Realtime Shorthand Reporter
17                  and Notary Public of the State of New
18                  York.
19
20
21
22
23
24
25

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       Case 1:21-cv-07957-LAK   Document 94-1       Filed 06/30/23   Page 4 of 7



                                                                        Page 60

1
2                   A.      No.
3                   Q.      Did you ever discuss Dr. Strange
4             with your brother Steve?
5                   A.      No.
6                   Q.      Prior to this lawsuit, were you
7             aware that your brother Steve illustrated
8             Spider-Man comics?
9                           MR. TOBEROFF:            Objection as to
10                  form.
11                  A.      Was I -- yes, I was aware.
12                  Q.      And prior to this lawsuit were you
13            aware that your brother Steve illustrated
14            Dr. Strange comics?
15                          MR. TOBEROFF:            Objection as to
16                  form.
17                  A.      Yes.
18                  Q.      And prior to this lawsuit, what did
19            you know about your brother's work on
20            Spider-Man?
21                          MR. TOBEROFF:            Objection as to
22                  form.
23                  A.      I -- not very much.
24                  Q.      Do you recall anything that you
25            were aware of prior to this lawsuit with

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       Case 1:21-cv-07957-LAK   Document 94-1       Filed 06/30/23   Page 5 of 7



                                                                        Page 62

1
2             like Dr. Strange to me.
3                   Q.      Did Steve tell you that the letter
4             sketch that you received in 1946 was Dr.
5             Strange?
6                   A.      No.
7                   Q.      So the idea that what he sent you
8             in 1946 relates to Dr. Strange, that's
9             something that you came to on your own?
10                  A.      Well, yeah, I assumed it.                   He sent
11            me all kind of drawings from everything.
12            That was among them.
13                  Q.      Fair to say that your brother Steve
14            was always drawing?
15                          MR. TOBEROFF:            Objection as to
16                  form.       Lacks foundation.
17                          THE WITNESS:            Too quick.
18                          MR. TOBEROFF:            That's okay.
19                  A.      Absolutely.           The fact is, when he
20            came home, all the kids wanted him to draw
21            them pictures, and he did.
22                  Q.      Did you ever see your brother Steve
23            draw a character --
24                          MS. LENS:         Strike that.
25                  Q.      Did you ever -- did you ever see

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       Case 1:21-cv-07957-LAK   Document 94-1      Filed 06/30/23   Page 6 of 7



                                                                      Page 206

1
2                          C E R T I F I C A T E
3             STATE OF NEW YORK           )
4                                             : ss.
5             COUNTY OF NEW YORK )
6
7                          I, Jennifer Ocampo-Guzman, a
8             Certified Realtime Shorthand Reporter and
9             Notary Public within and for the State of New
10            York, do hereby certify:
11                         That PATRICK S. DITKO, the
12          witness whose deposition is hereinbefore set
13          forth, was duly sworn, and that such
14          deposition is a true record of the testimony
15          given by the witness.
16                         I further certify that I am not
17          related to any of the parties to this action
18          by blood or marriage, and that I am in no
19          way interested in the outcome of this
20          matter.
21                         IN WITNESS WHEREOF, I have
22          hereunto set my hand this 1st day of
23          March, 2023.
24
                           <%5137,Signature%>
25                         JENNIFER OCAMPO-GUZMAN, CRR, CLR

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       Case 1:21-cv-07957-LAK   Document 94-1      Filed 06/30/23   Page 7 of 7



                                                                      Page 207

1
2             -------------- I N D E X -----------------
3             WITNESS          EXAMINATION BY      PAGE
4             PATRICK S. DITKO    MS. LENS           6
5                                 MR. TOBEROFF      201
6             --------------- EXHIBITS ------------------
7             EXHIBITS                          FOR I.D.
8
                Exhibit 122, Complaint for                                 94
 9              Declaratory Relief
10              Exhibit 123, Defendant Ditko's                             112
                Supplemental Responses and
11              Objections to Plaintiff's Third Set
                of Interrogatories to Patrick S
12              Ditko
13              Exhibit 124, Article                                       137
                entitled,"Ditko family working to
14              share Johnstown comics legend's
                story, promote his legacy."
15
                Exhibit 125, Affidavit, Bates Nos.                         150
16              2021MARVEL-0070642 through
                2021MARVEL-0070643
17
                Exhibit 126, Photocopies of                                197
18              handwritten letters
19                           MARKED FOR RULING
                                 PAGE LINE
20                                26   19
21
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23
24
25

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